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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

UNITED STATES OF AMERICA, NO{S A\(:lq 1 ;,F'[]|g 1 ESES‘<:;>

Plaintiff, PLEA AGREEMENT FOR DEFENDANT
VICTORIA CHAN

 

v.
VICTORIA CHAN,
Defendant.
l. This constitutes the plea agreement between VICTORIA CHAN

(“defendant”) and the United States Attorney's Office for the Central
District of California (the “USAO”) in the investigation of
fraudulent EB-S petitions for green cards, wire fraud conspiracy, and
international money laundering. This agreement is limited to the
USAO and Cannot bind any other federal, state, looal, or foreign
prosecuting, enforcement, administrative, or regulatory authorities.
DEFENDANT’S OBLIGATIONS
2. Defendant agrees to:

a. Give up the right to indictment by a grand jury and,

 

 

 

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at the earliest opportunity requested by the USAO and provided by the
Court, appear and plead guilty to a three-count information in the
form attached to this agreement as Exhibit A or a substantially
similar form, which charges defendant with conspiracy to commit visa
fraud, in violation of 18 U.S C. § 371 (count 1); conspiracy to
commit wire fraud, in violation of 18 U.S.C. § 1349 (count 2); and
international money laundering, in violation of 18 U.S.C.

§§ 1956(a)(2)(A), 2 (count 3).

b. Not contest facts agreed to in this agreement.

c. Abide by all agreements regarding sentencing contained
in this agreement.

d. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
within the scope of this agreement.

f. Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

g. Pay the applicable special assessments at or before
the time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form
to be provided by the USAO.

h. Make restitution at or before the time of sentencing,
based on financial ability, and not seek the discharge of any
restitution obligation, in whole or in part, in any present or future

bankruptcy proceeding.

 

 

 

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3. Defendant further agrees:

a. Truthfully to disclose to law enforcement officials,
at a date and time to be set by the USAO, the location of,
defendant's ownership interest in, and all other information known to
defendant about, all monies, properties, and/or assets of any kind,
derived from or acquired as a result of, or used to facilitate the
commission of, defendant's illegal activities, and to forfeit all
right, title, and interest in and to such items, if any, specifically
including all right, title, and interest in and to all United States
currency, property and assets, including: (1) 13592 Brittle Brush
Ct., Rancho Cucamonga, California; (2) 5528 Compass Pl., Rancho
Cucamonga, California; (3) 5535 Compass Pl., Rancho Cucamonga,
California; (4) 5555 Compass`Pl., Rancho Cucamonga, California;

(5) 5042 Morgan Pl., Rancho Cucamonga, California; (6) 10943 Stallion
Way, Rancho Cucamonga, California; and (7) 6527 Etiwanda Ave,
Etiwanda, California, which defendant admits constitute the proceeds
of defendant's illegal activity in violation of Title 18, United
States Code, Sections 371, 1343, and 1546(a).

b. To the Court’s entry of an order of forfeiture at or
before sentencing with respect to these assets and to the forfeiture
of the assets,

c. To take whatever steps are necessary to pass to the
United States clear title to the assets described above, including,
without limitation, the execution of a consent decree of forfeiture
and the completing of any other legal documents required for the
transfer of title to the United States.

d. Not to contest any administrative forfeiture
proceedings or civil judicial proceedings commenced against these

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properties, With respect to any criminal forfeiture ordered as a
result of this plea agreement, defendant waives the requirements of
Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice
of the forfeiture in the charging instrument, announcements of the
forfeiture sentencing, and incorporation of the forfeiture in the
judgment. Defendant acknowledges that forfeiture of the assets is
part of the sentence that may be imposed in this case and waives any
failure by the Court to advise defendant of this, pursuant to Federal
Rule of Criminal Procedure 11(b)(1)(J), at the time the Court accepts
defendant's guilty pleas.

e. Not to assist any other individual in any effort
falsely to contest the forfeiture of the assets described above.

f. Not to claim that reasonable cause to seize the assets
was lacking.

g. To prevent the transfer, sale, destruction, or loss of
any and all assets described above to the extent defendant has the
ability to do so.

h. To fill out and deliver to the USAO a completed
financial statement listing defendant's assets on a form provided by
the USAO.

i. That forfeiture of assets described above shall not be
counted toward satisfaction of any special assessment, fine, costs,
or other penalty the Court may impose.

4. Defendant admits that defendant received unreported income
for 2011-2017. Defendant agrees to cooperate with the Internal
Revenue Service in the determination of defendant's tax liability for
those years. Defendant agrees that:

a. If requested to do so by the Internal Revenue Service,

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defendant will file, prior to the time of sentencing, amended returns
for the years subject to the above admissions, correctly reporting
unreported income; will, if requested to do so by the Internal
Revenue Service, provide the Internal Revenue Service with
information regarding the years covered by the returns; will pay at
or before sentencing all additional taxes and all penalties and
interest assessed by the Internal Revenue Service on the basis of the
returns; and will promptly pay all additional taxes and all penalties
and interest thereafter determined by the Internal Revenue Service to
be owing as a result of any computational error(s), based on
financial ability.

b. Nothing in this agreement forecloses or limits the
ability of the Internal Revenue Service to examine and make
adjustments to defendant's returns after they are filed.

c. Defendant will not, after filing the returns, file any
claim for refund of taxes, penalties, or interest for amounts
attributable to the returns filed in connection with this plea
agreement.

d. Defendant gives up any and all objections that could
be asserted to the Examination Division of the Internal Revenue
Service receiving materials or information obtained during the
criminal investigation of this matter, including materials and
information obtained through grand jury subpoenas.

e. Defendant will sign closing agreements with the
Internal Revenue Service before sentencing, permitting the Internal
Revenue Service to assess and collect the total sum of taxes due as
determined by the IRS, as well as assess and collect the civil fraud
penalty for each year and statutory interest, on the tax liabilities,

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as provided by law.

THE USAO'S OBLIGATIONS

 

5. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

c. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offenses up to
and including the time of sentencing, recommend a two~level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
additional one~level reduction if available under that section.

d. Recommend that defendant be sentenced to a term of
imprisonment no higher than the low end of the applicable Sentencing
Guidelines range, provided that the offense level used by the Court
to determine that range is 20 or higher and provided that the Court
does not depart downward in offense level or criminal history
category. For purposes of this agreement, the low end of the
Sentencing Guidelines range is that defined by the Sentencing Table
in U.S.S.G. Chapter 5, Part A, without regard to reductions in the
term of imprisonment that may be permissible through the substitution
of community confinement or home detention as a result of the offense
level falling within Zone B or Zone C of the Sentencing Table.

NATURE OF THE OFFENSES

 

6. Defendant understands that for defendant to be guilty of
the crime charged in count 1 of the information, that is, conspiracy
to commit visa fraud, in violation of Title 18, United States Code,
Section 371, the following must be true: (1) Beginning in or about

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2008 and ending on or about April 2017, there was an agreement
between two or more persons to commit visa fraud, where:

(1a) defendant made or subscribed as true a false statement;

(1b) defendant acted with knowledge that the statement was untrue;
(1c) the statement was material to the activities or decisions of the
United States Citizenship and Immigration Services (“USCIS”); that
is, it had a natural tendency to influence, or was capable of
influencing, USCIS's decisions or activities; (1d) the statement was
made under oath or penalty of perjury; and (1e) the statement was
made on an application or other document required by immigration laws
or regulations; (2) defendant became a member of the conspiracy
knowing of at least one of its objects and intending to help
accomplish it; and (3) one of the members of the conspiracy performed
at least one overt act for the purpose of carrying out the
conspiracy.

7. Defendant understands that for defendant to be guilty of
the crime charged in count 2 of the information, that is, conspiracy
to commit wire fraud, in violation of Title 18, United States Code,
Section 1349, the following must be true: (1) Beginning in or about
2008 through in or about April 2017, there was an agreement between
defendant and one or more persons to commit wire fraud, Where:

(1a) defendant knowingly participated in a scheme or plan to defraud,
or a scheme or plan for obtaining money or property by means of false
or fraudulent pretenses, representations, or promises; (1b) the
statements made or facts omitted as part of the scheme were material;
that is, they had a natural tendency to influence, or were capable of
influencing, a person to part with money or property; (1c) defendant
acted with the intent to defraud, that is, the intent to deceive or

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cheat; and (1d) the defendant used, or caused to be used, an
interstate wire communication to carry out or attempt to carry out an
essential part of the scheme; and (2) defendant became a member of
the conspiracy knowing of at least one of its objects and intending
to help accomplish it.

8. Defendant understands that for defendant to be guilty of
the crime charged in count 3 of the information, that is,
international money laundering, in violation of Title 18, United
States Code, Section 1956(a)(2)(A), the following must be true:

(1) defendant transported money to a place in the United States from
or through a place outside the United States; and (2) defendant acted
with the intent to promote the carrying on of immigration fraud.
Defendant further understands that under 18 U.S.C. § 2, even though
defendant may not personally have committed the acts constituting a
charged offense, defendant may nevertheless be held criminally
responsible for that offense if she aided and abetted in its
commission. To be guilty of aiding and abetting in the commission of
international money laundering, in violation of 18 U.S.C.

§ 1956(a)(2)(A), the_following must be true: first, the crime of
international money laundering was committed by someone; second,
defendant aided, counseled, commanded, induced or procured that
person with respect to at least one element of the crime; third,
defendant acted with the intent to facilitate the crime; and fourth,
defendant acted before the crime was completed.

PENALTIES AND RESTITUTION

 

 

9. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States,
Code, Section 371 (count 1), is: 5 years' imprisonment; a three-year

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period of supervised release; a fine of $250,000 or twice the gross
gain or gross loss resulting from the offense, whichever is greatest;
and a mandatory special assessment of $100.

10. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States
Code, Section 1349 (count 2), is: 20 years' imprisonment; a three-
year period of supervised release; a fine of $250,000 or twice the
gross gain or gross loss resulting from the offense, whichever is
greatest; and a mandatory special assessment of $100.

11. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States
Code, Section 1956(a)(2)(A) (count 3), is: 20 years' imprisonment; a
three-year period of supervised release; a fine of $500,000 or twice
the value of the monetary instrument or funds involved in the
transportation, transmission, or transfer, whichever is greatest; and
a mandatory special assessment of $100.

12. Defendant understands, therefore, that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
45 years' imprisonment; a three-year period of supervised release; a
fine of $1,000,000 or twice the gross gain or gross loss resulting

from the offenses or twice the value of the monetary instrument or

 

funds involved in the transportation, transmission, or transfer
(count 3), whichever is greatest; and a mandatory special assessment
of $300.

13. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised

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release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

14. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury;

Defendant understands that once the court accepts defendant's guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty pleas.

15. Defendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant's attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant's guilty
pleas.

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FACTUAL BASIS

16. Defendant admits that defendant is, in fact, guilty of the
offenses to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support pleas of guilty
to the charges described in this agreement and to establish the
Sentencing Guidelines factors set forth in paragraph 17 below but is
not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct.

At all times relevant to this Plea Agreement, defendant was an
attorney licensed by the California state bar. Starting in or about
2008 and continuing through April 2017, defendant and her father
T.C., a foreign national, defrauded the United States by exploiting
the U.S. immigration “EB-B” visa program, which provides lawful U.S.
permanent residence (a “green card”) to foreigners, in exchange for
requiring investment of $1,000,000 in a U.S. business (or $500,000 if
the investment is in an economically distressed area) that must also
create 10 full-time American jobs. In their fraudulent EB-B scheme,
using California lnvestment Immigration Fund, LLC (“CIIF”) and
related entities, defendant's father convinced more than 100 foreign
Chinese nationals to invest a total of more than $50,000,000 with
CIIF and related companies. However; rather than investing all of
the funds into American businesses or construction projects,
defendant and her father either refunded some of the funds to the EB-
5 investors while their EB-5 petitions were pending, in direct
violation of the EB-5 program, or stole millions of dollars to use
for personal expenditures,y including buying million-dollar homes. As

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a result of defendant and her father's fraudulent scheme, many
foreign nationals were able to improperly obtain U.S. green cards
through the EB-S visa program, even though those foreigners did not
in fact truly invest the required amounts of funds in U.S.
businesses, nor were full-time American jobs created.

Defendant initially operated the immigration fraud scheme from
Orange County, using an address on Chapman Avenue in Garden Grove,
California. In addition, multiple EB-B petitions that defendant sent
to USCIS listed that address as the mailing address for the EB-B
petitioners. Most EB-S petitions were mailed to and/or processed at
the USCIS office in Orange County, which is located in Laguna Niguel,
California.

Visa fraud conspiracy: To obtain an EB-B green card, the U.S.

 

immigration laws and regulations require an alien petitioner to
submit an EB-B petition, signed under penalty of perjury to USCIS.

As part of the fraudulent immigration scheme, defendant submitted EB-
5 petitions to USCIS that contained multiple false statements,
including falsely representing that the EB-B funds had been invested
in construction projects, falsely representing that construction had
taken place at the project locations, falsely representing that 10
full-time American jobs had been created, and failing to disclose
that defendant had refunded some EB-5 petitioners' investments while
their EB-B petitions were pending, all in direct violation of the EB-
5 visa program/s rules. Defendant submitted approximately 130 EB-B
petitions where the majority contained such false information, signed
by defendant, which defendant knew was false at the time she
submitted the petitions to USCIS. For all of those fraudulent EB-B
petitions, the false information was material to the activities or

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decisions of USCIS, that is, the information had a natural tendency
to influence, or was capable of influencing, USCIS's decisions or
activities.

In many cases, before signing and submitting EB-5 petitions to
USCIS, defendant did not even meet in person with the EB-B
petitioners, most of whom who were then in China. Rather, the EB-E
petitions were often completed and signed in China and then emailed
to defendant in the United States. In many cases, defendant would
sign the EB-B petitions using the petitioners' names and then send
those hard copy petitions to USCI8 with those fabricated signatures.
Although the aliens had authorized those EB-B petitions by signing
the versions in China, the signatures on the EB-5 petitions that
defendant sent to USCIS were fabricated because defendant signed in
the petitioners' names on those petitions, instead of having the hard
copies from China with the aliens’ true signatures sent to USCIS.

Defendant’s father T.C. provided either full or partial refunds
to many of their EB-5 clients. Some of the EB-B clients received a
written personal guarantee from CIIF and/or defendant's father that
confirmed they would receive a refund of the EB-5 investment, even
though such a guarantee directly violated the EB-5 program, which
requires the entire EB-S investment to be “at risk ” As part of
their scheme, defendant's father would routinely instruct defendant
how much to wire-transfer to investors to make those refunds, which
defendant followed by wire-transferring millions of dollars in
refunds to banks outside the United States.

Many of the EB-B petitions for final green cards that defendant
submitted to USCIS were also fraudulent because no construction had
taken place at the purported project locations, so very few full-time

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American jobs, if any, had been created. Specifically, defendant
submitted many EB-S petitions that indicated that the petitioner had
fulfilled the EB-5 program's requirements of 10 full-time employment
positions, which was false because no construction had taken place at
the project locations, many of which remained either vacant lots or
empty buildings.

Conspiracy to commit wire fraud: In addition to filing EB-S

 

petitions with false information for their EB-5 clients, defendant
and her father, and others, also siphoned EB-S investors’ funds that
they then wrongfully used for their personal expenditures, instead of
for EB-5 projects.

In or about September 2011, at her father's direction, defendant
used approximately $434,000 originating from EB-5 investor funds to
purchase a residential property in Diamond Bar, California, for
approximately $994,000, which was purchased in defendant's name. To
do so, on or about August 18, 2011, defendant had transferred
approximately $475,000 from a CIIF bank account ending in 6724 to a
bank account in her name ending in 2238.

In or about March 2014, at her father's direction, defendant
used approximately $197,000 originating from EB-S investor funds to
purchase a residential property in Rancho Cucamonga, California, in
her name for a sales price of approximately $920,000. To do so, on
or about March 28, 2014, defendant wire transferred approximately
$146,674 from an account in her name ending in 6198 to an escrow
company for the purchase of that property, which was an interstate
wire communication.

Approximately $418,000 in additional EB-B investor funds were
used to pay for the mortgages and property taxes for those two

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properties. When siphoning EB-B investors’ funds to use for personal
expenditures, defendant acted with the intent to defraud and
concealed from the investors that she and her father were improperly
using those funds for their personal purposes. The parties agree
that for purposes of this plea agreement, the amount of EB-5
investors’ funds wrongfully diverted to purchase and maintain the two
properties purchased in defendant's name is approximately $1,049,716.

International money laundering: Because defendant and her

 

father's immigration fraud scheme was international in scope, money
was routinely transferred to and from the United States to further
the scheme. Specifically, on or about December 23, 2013,
approximately $550,185 was wire-transferred from a foreign bank
account to a bank account ending in 4588 in the United States in the
name of one of the entities that defendant was using in the
immigration fraud scheme. Those funds were transported to further
the immigration fraud scheme. Then, on or about January 3, 2014, as
a partial refund of that $550,000 received the month before in
December 2013, defendant caused approximately $300,000 to be wire-
transferred back for alien J.L. to a bank account in Hong Kong from a
bank account in the United States that defendant was using in the
immigration fraud scheme. Those funds were transported to further
the immigration fraud scheme, and by doing so, defendant acted with
the intent to promote carrying on the immigration fraud scheme.
Likewise, on or about June 23, 2015, approximately $550,000 was wire-
transferred from a bank account at the Bank of Communications in Hong
Kong ending in 7884 to a bank account ending in 8592 in the United
States in the name of one of the entities that defendant was using in
the immigration fraud scheme. Then, on or about December 18, 2015,

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as a partial refund of that $550,000 received in June 2015, defendant
caused approximately $300,000 to be wire-transferred back for alien
G.Z. to the same bank account at the Bank of Communications in Hong
Kong from a bank account in the United States that defendant was
using in the immigration fraud scheme. Those funds were transported
to further the immigration fraud scheme, and by doing so, defendant
acted with the intent to promote carrying on the immigration fraud
scheme. Because most of the money for the immigration fraud scheme
originated from overseas, there were many international transfers of
funds to further the immigration fraud scheme.

SENTENCING FACTORS

 

17. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crimes of
conviction.

18. Defendant and the USAO agree to the following applicable
Sentencing Guidelines factors:

Count-1 (conspiracy to commit visa fraud)

 

Base Offense Level: 11 U.S.S.G. § 2L2.1(a)

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100 or more documents€ +9 U.S.S.G. § 2L2.1(b)(2)(C)

Count-2 (conspiracy to commit wire fraud)

 

Base Offense Level: 7 U.S.S.G. § 281.1(a)(1)
$550k < loss < $1.51\/1: +14 b U.s.s.s. § 2131.1<13)(1)(14)`

Count-3 (international money laundering)

 

Base Offense Level: 20 U.S.S.G. § 281.1(a)(1)
Defendant and the USAO reserve the right to argue that additional
specific offense characteristics, adjustments, and departures under
the Sentencing Guidelines are appropriate.

19. Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.

20. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
(a) (2), (a) (3), (a) (6) , and (a) ('7).

WAIVER OF CONSTITUTIONAL RIGHTS

 

21. Defendant understands that by pleading guilty, defendant
gives up the following rights:
a. The right to persist in a plea of not guilty.
b. The right to a speedy and public trial by jury;
c. The right to be represented by counsel -- and if
necessary have the court appoint counsel -~ at trial. Defendant

understands, however, that, defendant retains the right to be

represented by counsel -- and if necessary have the court appoint
counsel -- at every other stage of the proceeding.
d. The right to be presumed innocent and to have the

burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

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e. The right to confront and cross-examine witnesses
against defendant.

f. The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify.

g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTIONS

 

22. Defendant understands that, with the exception of an appeal
based on a claim that defendant's guilty pleas were involuntary, by
pleading guilty defendant is waiving and giving up any right to
appeal defendant's convictions on the offenses to which defendant is

pleading guilty.

 

WAIVER OF APPEAL OF SENTENCE AND COLLATERAL ATTACK

23, Defendant gives up the right to appeal all of the
following: (a) the procedures and calculations used to determine and
impose any portion of the sentence; (b) the term of imprisonment
imposed by the Court, provided it is within the statutory maximum;
(c) the fine imposed by the court, provided it is within the
statutory maximum; (d) the amount and terms of any restitution order;
(e) the term of probation or supervised release imposed by the Court,
provided it is within the statutory maximum; and (f) any of the
following conditions of probation or supervised release imposed by
the Court: the conditions set forth in General Orders 318, 01-05,

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and/or 05-02 of this Court; the drug testing conditions mandated by
18 U.S.C. §§ 3563(a)(5) and 3583(d); the alcohol and drug use
conditions authorized by 18 U.S.C. § 3563(b)(7); and any conditions
of probation or supervised release agreed to by defendant in
paragraph 2 above.

24. Defendant also gives up any right to bring a post-
conviction collateral attack on the convictions or sentence, except a
post-conviction collateral attack based on a claim of ineffective
assistance of counsel, a claim of newly discovered evidence, or an
explicitly retroactive change in the applicable Sentencing
Guidelines, sentencing statutes, or statutes of convictions

25. The USAO agrees that, provided all portions of the sentence
are at or below the statutory maximum specified above, the USAO gives
up its right to appeal any portion of the sentence

RESULT OF WITHDRAWAL OF GUILTY PLEA

 

26. Defendant agrees that if, after entering guilty pleas
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing any of defendant's guilty pleas on any basis other
than a claim and finding that entry into this plea agreement was
involuntary, then the USAO will be relieved of all of its obligations
under this agreement.

EFFECTIVE DATE OF AGREEMENT

 

27. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant's counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

 

28, Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required

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certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant's obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. All of defendant's obligations
are material, a single breach of this agreement is sufficient for the
USAO to declare a breach, and defendant shall not be deemed to have
cured a breach without the express agreement of the USAO in writing.
If the USAO declares this agreement breached, and the Court finds
such a breach to have occurred, then: (a) if defendant has previously
entered guilty pleas pursuant to this agreement, defendant will not
be able to withdraw the guilty pleas, and (b) the USAO will be
relieved of all its obligations under this agreement.

29. Following the Court’s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any related
charge, then:

a. Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant's signing of this
agreement and the filing commencing any such action.

b. Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or any
speedy trial claim with respect to any such action, except to the
extent that such defenses existed as of the date of defendant's
signing this agreement.

c. Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a hearing
occurred prior to the breach); (ii) the agreed to factual basis
statement in this agreement; and (iii) any evidence derived from such
statements, shall be admissible against defendant in any such action

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against defendant, and defendant waives and gives up any claim under
the United States Constitution, any statute, Rule 410 of the Federal
Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal
Procedure, or any other federal rule, that the statements or any
evidence derived from the statements should be suppressed or are
inadmissible.

COURT AND PROBATION OFFICE NOT PARTIES

 

30. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO's sentencing recommendations or the parties’
agreements to facts or sentencing factors.

31. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any
and all factual misstatements relating to the Court’s Sentencing
Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court’s Sentencing
Guidelines calculations and the sentence it chooses to impose are not
error, although each party agrees to maintain its view that the
calculations in paragraph 17 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may
be viewed as inconsistent with the facts agreed to in this agreement,
this paragraph does not affect defendant's and the USAO's obligations
not to contest the facts agreed to in this agreement.

32. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions

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different from those agreed to, and/or imposes any sentence up to the
maximum established by statutei defendant cannot, for that reason,
withdraw defendant's guilty pleas, and defendant will remain bound to
fulfill all defendant's obligations undet'this agreement. Defendant
understands that no one -- not the prosecutor,‘defendant's attorney,'
or the Court ~~ can make a binding_predietion or premise regarding
the sentence defendant will receive, except that it'will be within
the statutory maximum.
No ADDITIONAE AGREEMENTS

33. Defendant understands that, except as set forth herein er
in_writing, there are no promises, understandings, or agreements
between the USAO and defendant or defendant's.attnrney, and that no

additional promise, understanding; of agreement may be entered intd

4 unless in a writing signed by all parties or on the record in court.

PLEA AGREEMENT PART OF THE GUILTY PLE8 HEARING
34. The parties agree that this agreement will be cgnsidered
part of the record of defendant's guilty plea hearing as if the‘
entire agreement had been read into the recdrd.ef the proceeding.
AGREED AND'ACCEPTED

UNITED STHTES ATTORNEYLS OFFICE
FOR THE,CENTRAL DISTRICT OF

 

 

CALIFORNIA
elmosz n._BRowN v y
Acting United States Attorney _
/ \O f\)/Iw\ ft
CHK§LES E. EELL Date

Assistant United States Attorney
Sante 7a Branch

 

. - . j »\0(1\¢\?4>.\1'
VICTORIA~CHAN Date .
Defendant '

 

 

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` ` ©U’)/©k/O/) ' - ' /0/////7

1 DIANE C. ASS, Esquire . Date
. Attorney or Defendant

2 VICTORIA CHAN

3 ,

l CERTIFICATION OF DEFENDANT

4 I have read this agreement in its entirety. I have had enough

5 time to review and consider this agreement, and I have carefully and _

6 thoroughly discussed every part of it with my attorney. I understand

7 the terms of this agreement, and I voluntarily agree to those terms.

8 I have discussed the evidence with my attorney, and my attorney has

9 advised me of my rights, of possible pretrial motions that might be
10 filed, of possible defenses that might be asserted either prior to or
ll at trial, of the sentencing factors set forth in 18 U;S.C. § 3553{a),
12 of relevant Sentencing Guidelines provisions, and of the consequences
13 of entering into this agreement, No promises, inducements, or
l% representations of any kind have been made to me other than those
l: contained in this agreement or other written agreement. No one has
:7 threatened or forced me in any way to enter into this agreement. I

8 am satisfied with the representation of my attorney in this matter,

l and I am pleading guilty because I am guilty of the charges and wish
l: to take advantage of the promises set forth in this agreement, and
:1 not for any other reason. _ ` 4
22 NMQ£® \o{\\)zo\"'r

VICTORIA CHAN Date
23 Defendant ~
24
25 CERTIFICATION OF DEFENDANT’S ATTOlLNEY _
26 l am VICTORIA CHAN’s attorney. I have carefully and thoroughly
27 discussed every part of this agreement with my client. Further, I
28 have fully advised my client of her rights, of possible pretrial
23

 

 

 

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1 motions that might be filed, of possible defenses that might be
2 asserted either prior to or at trial, of the sentencing factors set
3 forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
4 provisions, and of the consequences of entering into this agreement.1
5 To my knowledge: no promises, inducements; or representations of any
6 kind have been made to my client other than those contained in this
7 agreement; no one has threatened or forced my client in any way to
8 enter into this agreement; my client's decision to enter into this
9 agreement is an informed and voluntary one; and the factual basis set
10 forth in this agreement is sufficient to support my client’s entry of
11 guilty pleas pursuant to this agreement. .
12 ®w/@<,<)/) /O %/ /;L
13 DIANE c. Ass, require _ tate /' ' .
Attorney for Defendant
14 VICTORIA CHAN
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SOUTHERN
UNITED STATES OF AMERICA,
Plaintiff,
v§
VICTORIA CHAN,

Defendant.

 

 

 

U.S.

 

for requiring investment of $l,OO0,000 in a U.S. business

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

DIVISION
No.
EEEQBM§EL_QH

[18 U.S.C. § 371: Conspiracy to
Commit Visa Fraud; 18 U.S.C.

§ 1349: Conspiracy to Commit Wire
Fraud; 18 U.S.C. § 1956(a)(2)(A):
International Promotional Money
Laundering; 18 U.S.C. § 2(a):
Aiding and Abetting; 18 U.S.C.

§ Z(b): Causing an Act to be Done]

The Acting United States Attorney charges:
v INTRODUCTORY ALLEGATIONS
At all times relevant to this Information:
1. The U.S. immigration “EB-B” visa program provided lawful

permanent residence (a “green card”) to foreigners, in exchange

(Or

$500,000 if the investment was in an economically~distressed area)
that must also create 10 full~time American jobs.
2. The EB-B visa program's rules required that the $500,000 or

$1,000,000 investment be used in the U.S. business; any amount not so

used did not count towards meeting the EB-S prog§ri,§i(j§i'ui` or

 

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$l,OO0,000 investment requirement. The EB~S visa program's rules
also required that the entire $500,000 or $1,000,000 investment be
“at risk,” which thus proscribed guaranteeing a refund of any part of
the investment.

3. The United States Citizenship and Immigration Services
(“USCIS”) office responsible for adjudicating EB~5 applications was
located in Laguna Niguel, California, which is located in Orange
County, within the Central District of California.

4. Defendant VICTORIA CHAN (“CHAN”) was an attorney licensed
to practice law in the State of California.

5. From 2008 through 2017, defendant CHAN, her relative Co-
Conspirator No. l, a foreign national, and Co~Conspirator No. 2, a
Chinese national, worked together.to convince more than 100 foreign
Chinese nationals to invest millions of dollars in their fraudulent'
EB-E scheme; In that fraudulent scheme, more than 100 EB-B
applications with false information were filed with USCIS, including
for criminal fugitives from china.

6. Defendant CHAN, Co-Conspirator No. l( and Co-Conspirator
No. 2 used various entities in their fraudulent EB~E scheme,
including California Investment Immigration Fund, LLC (“CIIF”) and
CIIF’s related entities, such as CIIF Investment Group LP, California
Investment Immigration Fund LLC, CIIF Hotel Group LP, and Harris
Investment Immigration Fund LLC.

7. These Introductory Allegations are incorporated by
reference and re-alleged into each and every count of this

Information as though fully alleged therein.

 

 

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COUNT ONE
[18 U.S.C. § 371]

A. THE OBJECT OF THE CONSPIRACY

 

8. Beginning in or about 2008, and continuing through in or
about April 2017, in Orange and Los Angeles Counties, within the
Central District of California, and elsewhere, defendant CHAN,
together with others known and unknown to the Acting United States
Attorney, conspired and agreed with each other to knowingly and
intentionally commit an offense against the United States, namely,

visa fraud, in violation of Title 18, United States Code, Section

 

1546(&).

B. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE
ACCOMPLISHED
9. The object of the conspiracy was to be accomplished, in

substance, as follows:

a. Co-Conspirator No. 1 would promote the'fraudulent EB-S
scheme to prospective customers in the.People's Republic of China
(“PRC”).

b. Defendant CHAN would submit EB~S petitions with false
information to USCIS's office located in Laguna Niguel, Orange
County, California.

c. Defendant CHAN would sign the EB-E petitions with
false information that she submitted to USCIS, including falsely
representing that the EB-S funds had been invested in construction
projects, falsely representing that construction had taken place at
the project locations, falsely representing that 10 full-time
American jobs had been created, and failing to disclose that
defendant CHAN had refunded some EB~B petitioners' investments while

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their EB~B petitions were pending, all in direct violation of the EB-
5 visa program's rules.

d. Defendant CHAN would submit EB~B petitions to USCIS on
behalf of some of her customers who ultimately were fugitives on the
PRC's 100 most wanted list, charged with crimes such as bribery.

el Defendant CHAN would list her residence or business
address as the EB-B petitionerfs address on the EB-E petitions, which
included using an address in Garden Grove, California.

f. Co~Conspirator No. 1 would provide a written refund
guarantee to some of defendant CHAN’s EB~B customers.

g. In direct violation of the EB~B program's rules, Co~
Conspirator No. l would provide full or partial refunds of the EB-B
investments to many EB~B customers.

h. Contrary to the representations in the EB-S petitions
submitted to USCIS, defendant CHAN failed to cause any meaningful
construction at any of the purported EB~B project locations.

i. From in or about 2008 to in or about April 2017,
defendant CHAN would submit approximately 130 EB~5 petitions with
false information to USCIS.

C. OVERT ACTS

10. In furtherance of the conspiracy and to accomplish its
object, on or about the following dates, defendant CHAN and others
known and unknown to the Acting United States Attorney, committed
various overt acts in Orange and Los Angeles Counties, within the
Central District of California, and elsewhere, including, but not
limited to, the following:

Overt Act No. 1: On or about May 27, 2009, an unknown co~
conspirator wire~transferred approximately $200,000 from a bank

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account in the name of CIIF ending in 8183 to Co-conspirator No. 2.

Overt Act No. 2: On or about June 4, 2009, an unknown co~
conspirator wire~transferred approximately $500,000 from a bank
account in the name of CIIF ending in 8183 to a bank account in Hong
Kong for one of the Chinese fugitives, alien K.L.

Overt Act No. 3: On or about May 9, 2010, from a location in
Orange County, California, defendant CHAN mailed an EB~E petition for
alien H.X. that listed an address in Garden Grove, California, for
that EB~B petitioner. That EB-B petition also listed a Garden Grove
address for CIIF Investment Group LP.

Overt Act No. 4: On or about November 19, 2010, from a location
in Orange County, California, defendant CHAN mailed an EB-B petition
for alien B.Y. that listed an address in Garden Grove, California,
for that EB-E petitioner. That EBjB petition also listed a Garden.
Grove address for CIIF Investment Group LP.

Overt Act No. 5: On or about Augustr3, 2011, defendant CHAN
mailed documents related to alien B.Y.'s EB~S petition to USCIS’s
office located in Laguna Niguel, California.

Overt Act No. 6: On or about November 7, 2013, defendant CHAN
mailed an EB~E petition on behalf of alien H.X. with false statements
to USCIS’s office located in Laguna Niguel, California,

Overt Act No. 7: On or about January 3, 2014, defendant CHAN
wire-transferred approximately S300,000 to a foreign bank account as
a refund to EB~S petitioner J.L.

Overt Act No. 8: On or about January 28, 2014, defendant CHAN
mailed an EB-B petition on behalf of alien B.Y. with false statements

to USCIS's office located in Laguna Niguel, California,

 

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Overt Act No. 9: On or about December 18, 2015, at the direction
of Co-Conspirator Noj 1, defendant CHAN wire~transferred
approximately $300,000 to a bank account at the Bank of
Communications in Hong Kong as a refund to EB~S petitioner G.Z.

Overt Act Nos. 10a ~ th: On or about the following dates,

 

defendant CHAN and Co-Conspirator Nos. 1 and 2 opened the following
bank accounts that listed a mailing address on Chapman Avenue in

Orange County, California:

 

 

 

 

 

 

 

 

07/08/2008 Defendant CHAN 2238 East West Bank
b 06/15/2009 CIIF Investment 8506 East West Bank
Group LP
07/13/2010 Defendant CHAN 3713 JPMorgan Chase_
d 12/23/2010 Defendant CHAN 5398 Bank of America
e 12/26/2010 Harris Investment 0776 East West Bank
Immigration Fund
LLC
f 04/22/2011 Defendant CHAN 9238 Bank of America
g 05/13/2011 California 1030 East West Bank
Investment
Immigration Fund,
LLC
h 05/13/2011 CIIF HOtel GrOup 1048 EaSt WeSt Bank
LP

 

 

 

 

 

 

 

 

 

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coUNT Two
[18 U.s.c. § 1349}

A. THE OBJECT OF THE CONSPIRACY

 

11. Beginning in or about 2008, and continuing through in or
about April~2017, in Orange, Los Angeles, and San Bernardino
Counties, within the Central District of California, and elsewhere,
defendant CHAN and others known and unknown to the Acting United
States Attorney, knowingly combined, conspired, and agreed to commit
wire fraud, in violation of Title 18, United States Code, Section
1343.

B. THE MANNER AND MEANS OF THE CONSPIRACY

 

12. The object of the conspiracy was to be accomplished, in
substance, as follows:

a. Defendant CHAN would submit EB-S petitions to USCIS
that represented that the EB-S investors’ funds were being, or had
been, invested in U.S. businesses.

‘ b. In order to obtain the funds from the EB-E investors,
defendant CHAN, Co~Conspirator No. 1, and Co-Conspirator No. 2 would
conceal from the EB-S investors that defendant CHAN, Co-Conspirator
No. 1, and Co~Conspirator No. 2 intended to use, had used, and
continued to use, some of the funds originating from EB-5 investors
for defendant CHAN's and others’ personal expenditures, instead of
for EB~E purposes, which violated the EB-B visa program's rules.

c. Defendant CHAN, Co~Conspirator No. 1, and Co~
Conspirator No. 2 would use funds originating from EB~E investors to
make personal expenditures, including purchasing homes in defendant

CHAN’s name.

 

 

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d. Defendant CHAN would make wire transfers for such
purchases, including interstate wire transfers.
C. OVERT ACTS

13. In furtherance of the conspiracy and to accomplish its
object, on or about the following dates, defendant CHAN and others
known and unknown to the Acting United States Attorney, committed
various overt acts in Orange and Los Angeles Counties, within the
Central District of California, and elsewhere, including, but not
limited to, the following:

Overt Act Nof 1: On or about July 8, 2008, defendant CHAN opened
a bank account in defendant CHAN's name, ending in 2238, listing a
mailing address on Chapman Avenue in Garden Grove, California,

Overt Act No. 2: On or about May 13, 2011, an unknown co-
conspirator opened a bank account ending in 1048 in the name of CIIF
Hotel Group LP, with Co-Conspirator No. 1 and Co~Conspirator No. 2 as
signatories, listing a mailing address on Chapman Avenue in Garden
Grove, California,

Overt Act No. 3: On or about August 18, 2011, an unknown co-
conspirator transferred approximately $630,000 of funds originating
from EB~B investors from CIIF Hotel Group LP's bank account ending in
1048 through another CIIF account into defendant CHAN's account
ending in 2238.

Overt Act No. 4: On or about August 23, 2011, defendant CHAN
wrote a check from the bank account ending in 2238 for approximately
$434,690, which was used to purchase a residential property in
Diamond Bar, California, in defendant CHAN's name for approximately
$994,000. That check, number 280, listed defendant CHAN's name and
the address on Chapman Avenue, Garden Grove, California.

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Overt Act No. 5: On or about March 28, 2014, defendant CHAN
wire-transferred approximately $146,674 in funds originating from EB~
5 investors from an account in her name ending in 6198 to an escrow
company’s bank account to purchase a property in Rancho Cucamonga,

California, in her name for a sales price of approximately $920,000.

 

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COUNT THREE
[18 U.s.c. §§ 1956(a) (2) (A), 21

14. On or about January 3, 2014, in hos Angeles County, within
the Central District of California, and elsewhere, defendant CHAN
knowingly transported, transmitted, and transferred, and knowingly
aided, abetted, counseled, commanded, induced, and procured another
person to transport, transmit, and transfer, approximately $300,000
in funds to a place outside the United States, namely, Hong Kong,
from and through a place inside the United States with the intent to
promote the carrying on of specified unlawful activity, specifically,
visa fraud, in violation of-Title 18, United States Code, Section

1546(a).

SANDRA R. BROWN
Acting United States Attorney

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As»»~‘ant United States Attorney
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